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                                                                            United States District Court
                                                                              Southern District of Texas

                                                                                 ENTERED
                                                                                 July 12, 2022
                           UNITED STATES DISTRICT COURT
                                                                              Nathan Ochsner, Clerk
                            SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION


COUVILLION GROUP, LLC,                      §
      Plaintiff,                            §
                                            §
VS.                                         §      CIVIL ACTION NO. 4:22-CV-00908
                                            §
WHITE MARLIN OPERATING                      §
COMPANY LLC, et al.,                        §
      Defendants.                           §

                                        ORDER
       Considering the foregoing Unopposed Motion for Extension of Briefing Schedule
Deadlines filed by Plaintiff, Couvillion Group, LLC.
       IT IS HEREBY ORDERED that the Motion is GRANTED, and that the briefing
schedule deadlines set forth following the Court’s Pre-Motion Conference will be extended
by forty-five (45) days.
       August 22, 2022:      Amended Complaint Due
       September 12, 2022: Motion to Dismiss the Amended Complaint Due
       October 3, 2022:      Response to Motion to Dismiss the Amended Complaint Due
       October 10, 2022:     Reply to Response to Motion to Dismiss the Amended
                            Complaint Due


        SIGNED at Houston, Texas on July 8, 2022.


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                                                    GEORGE C. HANKS, JR.
                                                UNITED STATES DISTRICT JUDGE




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